                       Case:17-03013-swd       Doc #:9 Filed: 06/22/2017         Page 1 of 5
                                      United States Bankruptcy Court
                                      Western District of Michigan
In re:                                                                                  Case No. 17-03013-jtg
Candace M. Clay                                                                         Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0646-1           User: admin                  Page 1 of 3                   Date Rcvd: Jun 20, 2017
                               Form ID: 309A                Total Noticed: 67


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 22, 2017.
db             +Candace M. Clay,    3230 W. Willow St.,     Lansing, MI 48917-1783
tr             +John A. Porter,    Attorney at Law and Bankruptcy Trustee,      6059 Cannon Highlands Drive NE,
                 Belmont, MI 49306-9678
ust            +Matthew W. Cheney,    Office of the US Trustee,     The Ledyard Building, 2nd Floor,
                 125 Ottawa NW, Suite 200R,     Grand Rapids, MI 49503-2865
8062815         AAA Michigan,    2560 E. Paris Avenue, S.E.,     Grand Rapids MI 49546-2419
8062818        +Allied Business Servic,     400 Allied Ct,    Zeeland MI 49464-2219
8062822        +Ars Collections,    8155 Executive Ct Ste 10,     Lansing MI 48917-7774
8062824        +Beaumont Clinical Services,     PO Box 5047,    Troy MI 48007-5047
8062826        +Botsford Hospital/Beaumont,     28050 Grand River Avenue,     Farmington MI 48336-5919
8062827         Bright House Network,     37365 Enterprise Court,    Farmington MI 48331
8062828        +Cbm Collections,    300 Rodd St Ste 202,     Midland MI 48640-6599
8062829         Chase Bank USA,    3 Times Square,     New York NY 10036-6564
8062830        +Citizens Automobile Finance,     PO Box 42113,    Providence RI 02940-2113
8062831        +Comcast,   P.O. Box 3005,     Southeastern PA 19398-3005
8062835        +Eos Cca,   Po Box 981008,     Boston MA 02298-1008
8062836       ++FIFTH THIRD BANK,    MD# ROPS05 BANKRUPTCY DEPT,     1850 EAST PARIS SE,
                 GRAND RAPIDS MI 49546-6253
               (address filed with court: Fifth Third Bank,       38 Fountain Square,    Cincinnati OH 45263)
8062843         Lansing Community College,     500 North Washington,    Lansing MI 48933
8062844        +Lansing Professional B,     100 S Ottawa St Ste B,    Saint Johns MI 48879-1884
8062845        +Mary Beth Graebert,    1562 Forest Hill,     Okemos MI 48864-2954
8062846        +Mdt/astera Credit Unio,     111 S Waverly Rd,    Lansing MI 48917-3695
8062847        +Michigan Ga/navient,     Pob 9460 Mc E2142,    Wilkes Barre PA 18773-9460
8062848        +Mid Mich Cb,    Pob 130,    Saint Johns MI 48879-0130
8062849        +Mid Michigan Orthopedics Insti,     830 West Lake Lansing Road,     East Lansing MI 48823-6371
8062850        +Navient Solutions Inc,     Po Box 9500,    Wilkes Barre PA 18773-9500
8062853        +Pediatric Sub-Specialty,     3535 West Thirteen Mile Road,     Royal Oak MI 48073-6770
8062857       ++RUSSELL COLLECTION AGENCY,     PO BOX 7009,    FLINT MI 48507-0009
               (address filed with court: Russell Collection Agency, Inc,        PO Box 7009,   Flint MI 48507)
8062858        +Sparrow,   Payment Processing Center,      7364 Solution Center,    Chicago IL 60677-7003
8062861        +Toni Trate, D.O.,    38215 W. 10 Mile Road,     Farmington MI 48335-2866
8062863        +Us Dep Ed,    Po Box 5609,    Greenville TX 75403-5609
8062864        +Us Dept Of Ed/glelsi,     Po Box 7860,    Madison WI 53707-7860

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: granzowlaw@att.net Jun 20 2017 22:02:42       Stephen E. Granzow,
                 Granzow Law Offices,    530 S. Capitol Ave.,   Lansing, MI 48933
smg             EDI: IRS.COM Jun 20 2017 21:48:00      Internal Revenue Service,    Centralized Insolvency Unit,
                 PO Box 7346,    Philadelphia, PA 19101-7346
smg            +E-mail/Text: MarcsBankruptcyUnit@michigan.gov Jun 20 2017 22:03:32       MI DEPT OF TREASURY,
                 COLLECTION DIVISION/BANKRUPTCY,    PO BOX 30168,   LANSING, MI 48909-7668
smg            +E-mail/Text: bankruptcynoticeschr@sec.gov Jun 20 2017 22:03:06       SECURITIES & EXCHANGE COMM,
                 BANKRUPTCY SECTION,    175 W. JACKSON BLVD.,   SUITE 900,    CHICAGO, IL 60604-2815
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jun 20 2017 22:02:58       Andy Vara,
                 Office of the US Trustee,    The Ledyard Building, 2nd Floor,    125 Ottawa NW, Suite 200R,
                 Grand Rapids, MI 49503-2865
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jun 20 2017 22:02:58       Daniel J. Casamatta,
                 Assistant U.S. Trustee,    Office of the U.S. Trustee,    The Ledyard Building, 2nd Floor,
                 125 Ottawa NW, Suite 200R,    Grand Rapids, MI 49503-2865
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jun 20 2017 22:02:58       Daniel M. McDermott,
                 Office of the US Trustee,    The Ledyard Building, 2nd Floor,    125 Ottawa NW, Suite 200R,
                 Grand Rapids, MI 49503-2865
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jun 20 2017 22:02:58       David W. Asbach,
                 Office of the US Trustee,    The Ledyard Building, 2nd Floor,    125 Ottawa NW, Suite 200R,
                 Grand Rapids, MI 49503-2865
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jun 20 2017 22:02:58       Dean E. Rietberg,
                 Trial Attorney,    Office of the US Trustee,   The Ledyard Building, 2nd Floor,
                 125 Ottawa NW, Suite 200R,    Grand Rapids, MI 49503-2865
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jun 20 2017 22:02:58       Habbo G. Fokkena,
                 Office of the United States Trustee,    Michigan/Ohio Region 9,
                 The Ledyard Building, 2nd Floor,    125 Ottawa NW, Suite 200R,    Grand Rapids, MI 49503-2837
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jun 20 2017 22:02:58       Matthew T. Cronin,
                 Office of the US Trustee,    The Ledyard Building, 2nd Floor,    125 Ottawa NW, Suite 200R,
                 Grand Rapids, MI 49503-2865
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jun 20 2017 22:02:58       Michael V. Maggio,
                 Trial Attorney,    Office of the US Trustee,   The Ledyard Building, 2nd Floor,
                 125 Ottawa NW, Suite 200R,    Grand Rapids, MI 49503-2865
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jun 20 2017 22:02:58       Michelle M. Wilson,
                 Trial Attorney,    Office of the US Trustee,   The Ledyard Building, 2nd Floor,
                 125 Ottawa NW, Suite 200R,    Grand Rapids, MI 49503-2865
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jun 20 2017 22:02:58       United States Trustee,
                 Michigan/Ohio Region 9,    The Ledyard Building, 2nd Floor,    125 Ottawa NW, Suite 200R,
                 Grand Rapids, MI 49503-2837
                          Case:17-03013-swd               Doc #:9 Filed: 06/22/2017                Page 2 of 5



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                                      Form ID: 309A                      Total Noticed: 67


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
ust            +E-mail/Text: ustpregion09.gr.ecf@usdoj.gov Jun 20 2017 22:02:58        United States Trustee,
                 The Ledyard Building, 2nd Floor,    125 Ottawa Avenue NW, Suite 200R,
                 Grand Rapids, MI 49503-2837
8062821         E-mail/Text: ebn@americollect.com Jun 20 2017 22:03:16       Americollect Inc,     Po Box 1566,
                 Manitowoc WI 54221
8062823        +EDI: ATTWIREBK.COM Jun 20 2017 21:48:00       AT&T,   PO Box 8212,    Aurora IL 60572-8212
8062816        +E-mail/Text: bankruptcy@rentacenter.com Jun 20 2017 22:03:44        Acceptance Now,
                 5501 Headquarters Dr,    Plano TX 75024-5837
8062817        +EDI: AFNIRECOVERY.COM Jun 20 2017 21:48:00       Afni, Inc.,   Po Box 3097,
                 Bloomington IL 61702-3097
8062819        +EDI: GMACFS.COM Jun 20 2017 21:48:00      Ally Financial,    PO Box 380901,
                 Minneapolis MN 55438-0901
8062820        +EDI: GMACFS.COM Jun 20 2017 21:48:00      Ally Financial,    200 Renaissance Ctr,
                 Detroit MI 48243-1300
8062832        +E-mail/Text: bankruptcy_notices@cmsenergy.com Jun 20 2017 22:03:20        Consumers Energy,
                 Lansing MI 48937-0001
8062834        +EDI: DTEE.COM Jun 20 2017 21:48:00      DTE Energy,    PO Box 2859,    Detroit MI 48260-0001
8062833        +EDI: NAVIENTFKASMDOE.COM Jun 20 2017 21:48:00       Dept Of Ed/navient,    Po Box 9635,
                 Wilkes Barre PA 18773-9635
8062837        +EDI: RMSC.COM Jun 20 2017 21:48:00      GE Capital Retail Bank,     PO Box 965004,
                 Orlando FL 32896-5004
8062825         E-mail/Text: bankruptcy@gbmail.com Jun 20 2017 22:03:28       Best Bank,
                 4000 West Brown Deer Road,    Milwaukee WI 53209
8062838        +EDI: IIC9.COM Jun 20 2017 21:48:00      I C System Inc,    Po Box 64378,
                 Saint Paul MN 55164-0378
8062839        +EDI: RMSC.COM Jun 20 2017 21:48:00      JC Penney,    Customer Service,    PO Box 965009,
                 Orlando FL 32896-5009
8062840        +EDI: CBSKOHLS.COM Jun 20 2017 21:48:00      Kohls/capone,    N56 W 17000 Ridgewood Dr,
                 Menomonee Falls WI 53051-7096
8062841        +E-mail/Text: bonnie@ljross.com Jun 20 2017 22:02:55       L J Ross Associates In,
                 4 Universal Way,   Jackson MI 49202-1455
8062842        +E-mail/Text: collections@lafcu.com Jun 20 2017 22:03:39       LAFCU,    106 N. Marketplace Blvd.,
                 Lansing MI 48917-7753
8062851        +E-mail/Text: electronicbkydocs@nelnet.net Jun 20 2017 22:03:12        Nelnet Lns,    Po Box 1649,
                 Denver CO 80201-1649
8062855         EDI: PRA.COM Jun 20 2017 21:48:00      Portfolio Recovery Assoc.,     140 Corporate Blvd.,
                 Norfolk VA 23502
8062854        +EDI: PRA.COM Jun 20 2017 21:48:00      Portfolio Recovery Ass,     120 Corporate Blvd Ste 1,
                 Norfolk VA 23502-4952
8062856        +E-mail/Text: bankruptcy@rentacenter.com Jun 20 2017 22:03:44        Rent-A-Center,
                 3700 West Saginaw Highway,    Lansing MI 48917-2290
8062852         EDI: NEXTEL.COM Jun 20 2017 21:48:00      Nextel Communications,     PO Box 4191,
                 Carol Stream IL 60197
8062859         E-mail/Text: bklaw2@centurylink.com Jun 20 2017 22:03:15       Sprint,    PO Box 88026,
                 Chicago IL 60680
8062860        +EDI: RMSC.COM Jun 20 2017 21:48:00      Syncb/jcp,    Po Box 965007,    Orlando FL 32896-5007
                                                                                               TOTAL: 38

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
8062862        ##+Unitrin Direct,   PO Box 181101,   Chattanooga TN 37414-6101
                                                                                                                    TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 22, 2017                                            Signature: /s/Joseph Speetjens
                       Case:17-03013-swd      Doc #:9 Filed: 06/22/2017       Page 3 of 5



District/off: 0646-1         User: admin                 Page 3 of 3                   Date Rcvd: Jun 20, 2017
                             Form ID: 309A               Total Noticed: 67

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 20, 2017 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
                        Case:17-03013-swd                      Doc #:9 Filed: 06/22/2017               Page 4 of 5
Official Form 309A (For Individuals or Joint Debtors) (12/15)

Information to identify the case:
Debtor 1              Candace M. Clay                                                   Social Security number or ITIN        xxx−xx−1170
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Western District of Michigan
                                                                                        Date case filed for chapter 7 6/20/17
Case number:          17−03013−jtg


               Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline
For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

 1.     Debtor's full name                       Candace M. Clay

 2.     All other names used in the
        last 8 years

 3.    Address                               3230 W. Willow St.
                                             Lansing, MI 48917

 4.    Debtor's attorney                     Stephen E. Granzow                                     Contact phone (517) 321−4050
                                             Granzow Law Offices                                    Email: granzowlaw@att.net
       Name and address                      530 S. Capitol Ave.
                                             Lansing, MI 48933

 5.    Bankruptcy trustee                    John A. Porter                                         Contact phone (616) 874−4800
                                             Attorney at Law and Bankruptcy Trustee
       Name and address                      6059 Cannon Highlands Drive NE
                                             Belmont, MI 49306
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
                         Case:17-03013-swd                    Doc #:9 Filed: 06/22/2017                      Page 5 of 5
Debtor Candace M. Clay                                                                                                Case number 17−03013−jtg


6. Bankruptcy clerk's office                    DANIEL M. LAVILLE, Clerk of the Bankruptcy                   Office Hours: M−F, 8 AM − 4 PM
                                                Court
    Documents in this case may be filed at this One Division Ave., N.                                        Contact phone (616)456−2693
    address. You may inspect all records filed Room 200
    in this case at this office or online at    Grand Rapids, MI 49503
    www.pacer.gov.                                                                                           Date: 6/20/17


7. Meeting of creditors                          August 16, 2017 at 09:00 AM                                 Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              U. S. Post Office & Courthouse
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            Bldg., 315 W. Allegan, Room 101,
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                     Lansing, MI 48933
    Please note that possession of cell phones
    is prohibited at first meetings.


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 10/16/17
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.

13. Abandonments                                 Trustees may abandon property in no asset estates without notice to creditors or other
                                                 interested parties. Anyone wishing to receive notice of such abandonment must file a
                                                 request with the Court.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2
